Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 1 of 27 PageID #:71




                 EXHIBIT 1
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 2 of 27 PageID #:72
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 3 of 27 PageID #:73
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 4 of 27 PageID #:74
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 5 of 27 PageID #:75
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 6 of 27 PageID #:76
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 7 of 27 PageID #:77
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 8 of 27 PageID #:78
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 9 of 27 PageID #:79
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 10 of 27 PageID #:80
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 11 of 27 PageID #:81
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 12 of 27 PageID #:82
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 13 of 27 PageID #:83
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 14 of 27 PageID #:84
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 15 of 27 PageID #:85
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 16 of 27 PageID #:86
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 17 of 27 PageID #:87
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 18 of 27 PageID #:88
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 19 of 27 PageID #:89
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 20 of 27 PageID #:90
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 21 of 27 PageID #:91
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 22 of 27 PageID #:92
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 23 of 27 PageID #:93
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 24 of 27 PageID #:94
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 25 of 27 PageID #:95
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 26 of 27 PageID #:96
Case: 1:22-cv-02947 Document #: 14-1 Filed: 08/08/22 Page 27 of 27 PageID #:97
